                 Case 3:20-cv-01866-IM    Document 88    Filed 03/12/21   Page 1 of 9




Clifford S. Davidson, OSB No. 125378
csdavidson@swlaw.com
        Special Assistant Attorney General
Kelly H. Dove, OSB No. 082165
kdove@swlaw.com
Alexix G. Terríquez (pro hac vice)
aterriquez@swlaw.com
SNELL & WILMER L.L.P.
One Centerpointe Drive, Suite 170
Lake Oswego, OR 97035
Telephone: (503) 624-6800
Facsimile: (503) 624-6888

          Attorneys for the State Defendants

          Additional counsel listed on signature page



                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF OREGON
                                        PORTLAND DIVISION

GREAT NORTHERN RESOURCES, INC.,                         Case No. 3:20-cv-01866-IM (L)
DYNAMIC SERVICE FIRE AND
SECURITY, LLC, and WALTER VAN
LEJA, on behalf of themselves and others
similarly situated,                                     NOTICE OF SETTLEMENT AS TO
                                                        PLAINTIFFS DYNAMIC SERVICE
                     Plaintiffs,                        FIRE AND SECURITY, LLC AND
                                                        WALTER VAN LEJA
          vs.

KATY COBA, in her Official Capacity as
State Chief Operating Officer and Director of
the Oregon Department of Administrative
Services; OREGON DEPARTMENT OF
ADMINISTRATIVE SERVICES; THE
CONTINGENT; BLACK UNITED FUND
OF OREGON; and DOES 1-10,

                     Defendants.




NOTICE OF SETTLEMENT AS TO
PLAINTIFFS DYNAMIC AND VAN LEJA
4847-8326-7290
          Case 3:20-cv-01866-IM         Document 88       Filed 03/12/21     Page 2 of 9




       TO THE HONORABLE COURT AND ALL PARTIES:

       PLEASE TAKE NOTICE that Defendants State of Oregon, Department of Administrative

Services, and Katy Coba, in her Official Capacity as State Chief Operating Officer and Director

of the Oregon Department of Administrative Services (the “State Defendants”), The Contingent

and Black United Fund, Inc. (the “Settling Defendants”) hereby provide notice to the Court of their

settlement with plaintiffs Dynamic Service Fire and Security, LLC and Walter Van Leja (the

“Settling Plaintiffs”). “Settling Defendants” and “Settling Plaintiffs” are referred to herein as the

“Settling Parties.” The settlement agreement is attached hereto as Exhibit 1.
               FACTUAL BACKGROUND RELEVANT TO THIS NOTICE
       A.      The Oregon Emergency Board Allocates $62 Million to Create the Fund, and
               Great Northern, Dynamic, and Van Leja Sue to Enjoin the Fund’s Operation.
       This lawsuit concerns the Oregon Emergency Board’s allocation of $62 million to

Defendant Oregon Department of Administrative Services (“DAS”) for the purpose of creating a

fund available to Oregon-based businesses majority-owned by persons self-identifying as Black;

Oregon-based community organizations primarily serving the Black community; and Oregon-

based individuals who self-identify as Black (known as the Oregon Cares Fund for Black Relief

and Resiliency (“Fund”). (ECF No. 65 at 4.) To administer the Fund, DAS tasked The Contingent,

an Oregon-based non-profit with existing programs that serve Oregon’s Black community. (Id.)

Significantly, though the Fund was set to expire on December 30, 2020 (according to the terms of
the agreement between DAS and The Contingent, and the Emergency Board’s allocation to DAS),

on December 8, 2020, The Contingent announced it would no longer accept applications. By that

date, The Contingent already had applications for amounts exceeding the funds available for

distribution. (Id.; see also ECF No. 45 at 6–7.) Black United Fund subcontracted with The

Contingent to assist in processing the Fund applications.

       On October 29, 2020, Plaintiff Great Northern Resources, Inc. (“Great Northern”) sued on

its own behalf and moved for a temporary restraining order on November 7, 2020. (ECF Nos. 1,

12.) On November 20, 2020, the Court denied Great Northern’s request because of the of lack of

Page 1 – NOTICE OF SETTLEMENT AS TO                                              Snell & Wilmer
                                                                          One Centerpointe Drive Ste 170
PLAINTIFFS DYNAMIC AND VAN LEJA                                            Lake Oswego, Oregon 97035
                                                                                  503.624.6800
             Case 3:20-cv-01866-IM     Document 88       Filed 03/12/21     Page 3 of 9




irreparable injury to it—in part because The Contingent had already deposited the maximum

amount any applicant could obtain with the Court’s registry ($200,000). (ECF No. 28.)

        On December 6, 2020, Plaintiffs filed their “First Amended Class-Action Complaint.”

(ECF No. 32.) The Amended Complaint added as plaintiffs Dynamic Service Fire and Security,

LLC (“Dynamic”) and Walter Van Leja, who sued on behalf of themselves and a putative class

defined as “all current and future individuals, families, and businesses who: (1) live or are based

in Oregon; (2) have experienced or are experiencing hardship due to COVID-19; and (3) do not

self-identify as [B]lack, and who therefore have been or are currently being disqualified from the

relief from the Fund on account of race.” (Id. at 68.) On December 11, 2020, Plaintiffs moved for

a temporary restraining order. (ECF No. 39.) After briefing, The Contingent informed the Court it

would deposit the balance of the Fund into the Court’s registry ($8,814,120); thus, the Court denied

Plaintiffs’ request as moot and accepted The Contingent’s deposit. (ECF No. 59.)

        B.       Defendants Attack the Claims of Non-Applicants, including Dynamic and Van
                 Leja, Based on Lack of Standing.
        On December 29, 2020, the State Defendants submitted a brief to the Court addressing the

standing of non-applicants—that is, whether those individuals, businesses, and nonprofits, who

did not apply before the Fund closed, possess any claim for relief. (ECF No. 65.) This includes
Dynamic and Mr. Van Leja. (Id.; see also ECF No. 32. ¶¶ 42, 47.) The Court deferred its ruling
on this issue.

        C.       The Parties Negotiate Two Different Settlements – One, a Proposed Settlement
                 Class of Applicants to the Fund, Including Great Northern – the Other, At
                 Issue Here, a Settlement of the Individual Claims of Dynamic and Mr. Van
                 Leja, Neither of Whom Applied to the Fund.
        On January 12, 2021, the parties attended the Court-ordered settlement conference, which

did not result in settlement. (ECF No. 78.) The conference did, however, precipitate settlement

conversations between the parties. Through these conversations, the State Defendants agreed to

settle with Great Northern. That proposed settlement would involve – and is contingent upon – the



Page 2 – NOTICE OF SETTLEMENT AS TO                                             Snell & Wilmer
                                                                         One Centerpointe Drive Ste 170
PLAINTIFFS DYNAMIC AND VAN LEJA                                           Lake Oswego, Oregon 97035
                                                                                 503.624.6800
          Case 3:20-cv-01866-IM          Document 88      Filed 03/12/21     Page 4 of 9




certification by this Court of a settlement class pursuant to Fed. R. Civ. P. 23(e). That proposed

settlement is the subject of a Motion to Approve filed concurrently with this Notice.

       Meanwhile, the Settling Defendants have separately agreed with Settling Plaintiffs to settle

their individual claims. Unlike the proposed settlement class as to which Great Northern would be

a class representative, the Settling Defendants’ settlement with Dynamic and Mr. Van Leja is

simply a settlement of their individual claims and is not proposed as a class settlement. The

resulting settlement agreement, attached as Exhibit 1, resolves Dynamic’s and Mr. Van Leja’s

claims and permits $5,300,000.00 to be released from the funds deposited with the Court—subject

to Court approval of that release.

       Because of this Court’s role in supervising this entire litigation and the proposed settlement

class that is the subject of the Request for Approval, and out of caution and consistent with a

conservative reading of the law of Rule 23, Settling Defendants hereby give notice of their

settlement of the individual claims of Dynamic and Mr. Van Leja.

                    SUMMARY OF PROPOSED SETTLEMENT TERMS
       A.      What Is Not At Issue in the Individual Settlements with Dynamic and Mr. Van
               Leja.
       Precisely because the individual settlement with Dynamic and Mr. Van Leja is just that –

an individual settlement – it is worth stressing all of the features of the proposed settlement class

including Great Northern that are not part of this small and narrow agreement.
       First, and most importantly, there is no proposed settlement class.

       Second, and relatedly, there is therefore no class notice.

       Third, no relief is sought for others, as no others are bound by this settlement, which is a

critical inquiry in Fed. R. Civ. P. 23(e)(2).

       Fourth, there is no class release, because again, no others are bound by this settlement. See

Fed. R. Civ. P. 23(e)(2).




Page 3 – NOTICE OF SETTLEMENT AS TO                                              Snell & Wilmer
                                                                          One Centerpointe Drive Ste 170
PLAINTIFFS DYNAMIC AND VAN LEJA                                            Lake Oswego, Oregon 97035
                                                                                  503.624.6800
               Case 3:20-cv-01866-IM     Document 88       Filed 03/12/21     Page 5 of 9




          B.       This Settlement Involves a Payment to Settling Plaintiffs and Their Counsel,
                   Withdrawal of Some Moneys from the Deposit in the Court Registry, and
                   Mutual General Releases Relating to Settling Plaintiffs’ Individual Claims.
          The terms of the State Defendants’ settlement with Dynamic and Mr. Van Leja are few and

simple.

          First, within seven court days of the date on which the final signature is affixed to the

settlement, Effective Date, Settling Defendants will file a joint motion to withdraw $5,300,000.00

from the Deposit (the “Withdrawal Motion”). Settling Defendants will request that the withdrawn

funds be disbursed to The Contingent. Settling Plaintiffs agree that they will not oppose the

Withdrawal Motion. Settling Plaintiffs agree that upon receipt of the withdrawn funds, The

Contingent may resume disbursing those moneys to Fund applicants meeting the original Fund

criteria. Great Northern Resources has agreed not to oppose the Withdrawal Motion on the

condition that the funds be distributed in order of the dates on which applications were received

by The Contingent

          Second, if the court grants the Withdrawal Motion, then within five business days after the

Withdrawal Motion is granted, the State of Oregon, by and through the Oregon Department of

Administrative Services/Risk Management ("Risk Management"), shall (1) pay plaintiff Dynamic

Service Fire and Security, LLC the sum of $35,000 dollars. ("Settlement Payment") and (2) pay

Settling Plaintiffs’ attorneys $75,962.00 as fees and costs (“Attorney Fees Payment”).

          Third, within three court days of receiving the Settlement Payment and Attorney Fees

Payment, Settling Plaintiffs agree to dismiss their individual claims against all defendants with

prejudice.

          Fourth, Dynamic and Mr. Van Leja agree to a mutual general release with the Settling

Defendants, as set forth more specifically in the settlement. (Settlement at 3.).




Page 4 – NOTICE OF SETTLEMENT AS TO                                               Snell & Wilmer
                                                                           One Centerpointe Drive Ste 170
PLAINTIFFS DYNAMIC AND VAN LEJA                                             Lake Oswego, Oregon 97035
                                                                                   503.624.6800
          Case 3:20-cv-01866-IM         Document 88       Filed 03/12/21      Page 6 of 9




                       NOTICE OF THE PROPOSED SETTLEMENT
       A.      The Law Does Not Require Judicial Approval of this Settlement, But Prudence
               Nonetheless Dictates Giving Notice to This Court of It.
       Rule 23(e) of the Federal Rules of Civil Procedure does not require judicial approval, as

here, of the settlement of a putative class action where the settlement does not involve class

certification or bind the putative class. See Fed. R. Civ. P. 23(e) (“The claims, issues, or defenses

of a certified class—or a class proposed to be certified for purposes of settlement—may be settled,

voluntarily dismissed, or compromised only with the court's approval”).

       Ninth Circuit authority predating the 2003 and 2018 revisions to Rule 23 nonetheless

suggests that it is prudent to give notice to the Court of settlement in such a situation. See Diaz v.

Trust Territory of the Pacific Islands, 876 F.2d 1401, 1408 (9th Cir. 1989). Consistent with the

prudence of that practice, some cases predating the 2018 revisions to Rule 23(e) show parties

seeking judicial approval of pre-certification settlements, while others show parties simply giving

notice to the Court, thus respecting its supervisory authority over the matter. By sweeping in

voluntary notices, the 2003 amended notice provision sought to protect the interests of non-party

class members from unfair or collusive settlements and to discourage the assertion of a class action

to secure an unjust private settlement for named plaintiffs who then dismiss the putative class

claims. This concern is not present, however, if the voluntary dismissal did not bind the class,

consistent with Rule 23(e)(2). See, e.g., Musgrave v. ICC/Marie Callender’s Gourmet Prods. Div.,
No. 3:14-cv-02006-HSG, 2015 U.S. Dist. LEXIS 172290, at *6 (N.D. Cal. Dec. 28, 2015)

(approving non-class settlement in a case that initially began as a putative class action and finding

notice was not necessary because dismissal would not affect the rights of putative class

members); Houston v. Cintas Corp., No. C 05-3145 JSW, 2009 U.S. Dist. LEXIS 33704, at *5

(N.D. Cal. Apr. 3, 2009) (approving voluntary dismissal of putative class claims when named

plaintiffs decided to arbitrate claims in part because dismissal would be without prejudice); In re

Enron Corp. Sec., Derivative & ERISA Litig.), Nos. MDL-1446, H-01-3624, 2007 U.S. Dist.

LEXIS 5111, at *94 (S.D. Tex. Jan. 24, 2007) (concluding that notice to the absent class members

Page 5 – NOTICE OF SETTLEMENT AS TO                                               Snell & Wilmer
                                                                           One Centerpointe Drive Ste 170
PLAINTIFFS DYNAMIC AND VAN LEJA                                             Lake Oswego, Oregon 97035
                                                                                   503.624.6800
            Case 3:20-cv-01866-IM         Document 88     Filed 03/12/21     Page 7 of 9




and a hearing are required for a motion for court approval of a voluntary dismissal under Rule

41(a) only when the class is “bound” by the dismissal, i.e., that it is precluded from asserting its

claims against the defendants).

       The Settling Defendants are especially concerned about giving notice to show regard for

the Court’s role in supervising this litigation, as the Settling Defendants simultaneously are

presenting a motion to certify a settlement class with a different representative plaintiff (Great

Northern) concerning a narrower proposed set of benefitted parties whose claims do not have the

standing and mootness issues the Settling Defendants see in the claims of Dynamic and Mr. Van
Leja and the putative class they purport to represent. Regardless, even if the settlement of

Dynamic’s and Mr. Van Leja’s individual claims may be conducted without approval, their

assertion in common with the claims of the Great Northern settlement class leads the Settling

Parties to the conclusion that this Court should have all of the details of this settlement to assess

the entire picture of both settlements.
       B.       To the Extent This Court Wishes to Review and Consider its Terms, the
                Settlement With Dynamic and Mr. Van Leja Is Equitable and Does Not Offend
                Rule 23.
       This settlement is fully consistent with Rule 23(e), and nothing in it should give this Court

pause under that rule.

       First, the settlement does not fall within the broad language of the first paragraph of Rule

23(e) that establishes this Court’s positive obligation to police settlements of actual or putative

class actions. That language provides that “[t]he claims… of a certified class—or a class proposed

to be certified for purposes of settlement—may be settled, voluntarily dismissed, or compromised

only with the Court’s approval.” Id. Here, the individual claims of Dynamic and Mr. Van Leja

have never been certified as a class, nor is anyone proposing their certification for purposes of

settlement. Indeed, the claims are in jeopardy at present, as there is briefing before this Court

advocating that non-applicants—such as Dynamic, Van Leja and the putative class of non-

applicants—lack standing or that their claims are moot. The language setting out what Rule 23


Page 6 – NOTICE OF SETTLEMENT AS TO                                              Snell & Wilmer
                                                                          One Centerpointe Drive Ste 170
PLAINTIFFS DYNAMIC AND VAN LEJA                                            Lake Oswego, Oregon 97035
                                                                                  503.624.6800
          Case 3:20-cv-01866-IM          Document 88      Filed 03/12/21      Page 8 of 9




does on its face does not sweep in this settlement, nor does it create on its face any obligation to

police this settlement.

        Second, this settlement does not implicate the concern of Rule 23(e)(2) to avoid injury to

absent similar claimants by binding them to a settlement that disfavors them. The text of Rule

23(e)(2) makes this concern plain, by requiring a hearing or finding of fairness, reasonability, and

adequacy “[i]f the proposal would bind class members…”. Id. Again, the settlement of the

individual claims asserted by Dynamic and Mr. Van Leja does not bind any absent parties,

including any nonparticipating members of the class they would have pressed, consisting of

persons who never applied to the Fund.

        Third, to the extent Diaz has vitality and suggests that this Court should apply any scrutiny
to the settlement, it likewise implicates no concern suggested by that case. 876 F.2d at 1410. There,

the Ninth Circuit suggested focus on the potential for prejudice in pre-certification settlements of

putative class actions from: “(1) class members' possible reliance on the filing of the action if they

are likely to know of it either because of publicity or other circumstances, (2) lack of adequate

time for class members to file other actions, because of a rapidly approaching statute of limitations,

[or] (3) any settlement or concession of class interests made by the class representative or counsel

in order to further their own interests.” Id.

        None of those considerations applies here. As to (1), Settling Defendants submit that non-

applicant class members could not have meaningfully relied on the filing in refraining from filing

any viable action. Dynamic and Mr. Van Leja filed their claim on December 6, 2020, only two

days before the Fund closed on December 8, 2020, so no one stood by waiting for them to prosecute

the valid claims of non-applicants, only to be thwarted by the settlement. See id. Put another way,

Settling Defendants contend that by December 8, it was impossible to apply, so no one had time

to rely on the Dynamic/Van Leja filing and meaningfully forbear from suit. See id. As to (2), the

operative limitations period is either the date the Fund closed, which already passed and is

unaffected by this settlement, or is some other statute of limitations as to claims that has not yet


Page 7 – NOTICE OF SETTLEMENT AS TO                                               Snell & Wilmer
                                                                           One Centerpointe Drive Ste 170
PLAINTIFFS DYNAMIC AND VAN LEJA                                             Lake Oswego, Oregon 97035
                                                                                   503.624.6800
          Case 3:20-cv-01866-IM         Document 88       Filed 03/12/21     Page 9 of 9




elapsed, so that consideration does not warrant skepticism about this settlement. See id. Finally, as

to (3), no class interest is conceded because – again – no claim beyond those of Dynamic and Van

Leja are compromised by the settlement.



                                         CONCLUSION

       For the reasons set forth herein, the Settling Defendants respectfully provide this Court

with notice of their settlement with Dynamic and Van Leja.



Dated: March 12, 2021                         ELLEN ROSENBLUM
                                              ATTORNEY GENERAL
                                              FOR THE STATE OF OREGON

                                              SNELL & WILMER L.L.P

                                              By /s/ Clifford S. Davidson
                                                 Clifford S. Davidson, OSB No. 125378
                                                 csdavidson@swlaw.com
                                                     Special Assistant Attorney General
                                                 Kelly H. Dove, OSB No. 082165
                                                 Alexix G. Terríquez (pro hac vice)
                                                 aterriquez@swlaw.com
                                                 Alysha Green (pro hac vice)
                                                 agreen@swlaw.com

                                                  Fay Stetz-Waters, OSB No. 071789
                                                  Fay.stetz-waters@doj.state.or.us
                                                  Sheila H. Potter, OSB No. 993485
                                                  Sheila.potter@doj.state.or.us

                                                      Attorneys for Defendants State of Oregon,
                                                      Oregon Department of Administrative
                                                      Services, and Katy Coba, in her Official
                                                      Capacity as State Chief Operating Officer
                                                      and Director of the Oregon Department of
                                                      Administrative Services




Page 8 – NOTICE OF SETTLEMENT AS TO                                              Snell & Wilmer
                                                                          One Centerpointe Drive Ste 170
PLAINTIFFS DYNAMIC AND VAN LEJA                                            Lake Oswego, Oregon 97035
                                                                                  503.624.6800
